                                                                 REDACTED
JS 45(11/2002)
Criminal Case Cover Sheet                                                                                                           U.S. District Court


Place of Offense:                                       Under Seal: Yes •     No                  Judge Assigned:|]^{^ C' iPOOO^^^ ^.
                                                                                                        S          O       1        1


Citv:     EDVA                        Indictment:                                                 Criminal Number: 2:18CR

County/Parish:                        Same Defendant:                                             New Defendant: MICHAEL AMIT

                                      Magistrate Judge Case Number:                               Arraignment Date:

                                      Search Warrant Case Number:

                                      R 20/R 40 from District of
Defendant Information:


Juvenile: Yes •        No H           FBI#
Defendant Name:        Michael Amit                              Alias Name(s):
Address:       Chesapeake, VA 23321
Birth Date: 1987            SS#:                 Sex: M        Race:               Nationality:                        Place of Birth:

Height:      5'9"      Weight: 144 lbs       Hair: Black                Eyes: Brown          Scars/Tattoos:

Interpreter: Yes •         No lEl   List Language and/or dialect:
Location Status:

Arrest Date:

 •      Already in Federal Custody as of:                   .2017 in:


 •      Already in State Custody                    •   On Pretrial Release                         |Xl Not in Custody

 • ArrestWarrantRequested                           • Fugitive                                      • Summons Requested

 •Arrest Warrant Pending                            •    Detention Sought                           •           Bond

Defense Counsel Information:

 Name:       Greg McCormack                  • CourtAppointed
 Address:

 611 Lynnhaven Parkway
 Virginia Beach, VA 23452
                                             lEI Retained

 Telephone: 757-463-7224                     •Public Defender

                                             •office of Federal Public Defender should not be appointed due to conflict of interest

                                             • CJA attorney:                              shouldnot be appointeddue to conflict of interest
U.S. Attorney Information:

AUSA: Elizabeth Yusi                                             Telephone No. 757-441-6331                            Bar#:     91982

         Complainant Agency. Address & Phone Number or Person & Title:

     HSI, Norfolk Field Office
         U.S.C. Citations:

                      Code/Section                        Description of Offense Charged                    Count(s)           Capital/Felony/Misd/Petty
                                                    Receipt of Images of Minors Engaging
Setl       18 U.S.C. § 2252(a)(2)                   in Sexually Explicit Conduct                            1             Felony
Set 2

Set 3
